      Case 1:15-cr-00283-SHR-MCC Document 67 Filed 08/28/18 Page 1 of 2




                       UNITED STATES COURT OF APPEALS
                            FOR THE THIRD CIRCUIT
                               ________________

                                      No. 17-1745
                                   ________________


                           UNITED STATES OF AMERICA

                                            v.

                                 CURTIS WALDRON,
                                           Appellant



                      Appeal from the United States District Court
                         for the Middle District of Pennsylvania
                     (D.C. Criminal Action No. 1-15-cr-00283-001)
                       District Judge: Honorable Sylvia H. Rambo
                                   ________________

                      Submitted Under Third Circuit L.A.R. 34.1(a)
                                    March 6, 2018

              Before: MCKEE, AMBRO, and RESTREPO, Circuit Judges

                                      JUDGMENT

       This cause came on to be heard on the record before the United States District
Court for the Middle District of Pennsylvania and was submitted pursuant to Third
Circuit L.A.R. 34.1(a) on March 6, 2018.
       On consideration whereof, IT IS ORDERED AND ADJUDGED by this Court that
the judgment of the District Court dated April 3, 2017, is hereby affirmed. All of the
above in accordance with the opinion of this Court.
     Case 1:15-cr-00283-SHR-MCC Document 67 Filed 08/28/18 Page 2 of 2




                                  ATTEST:


                                  s/ Patricia S. Dodszuweit
                                  Clerk




Dated: August 28, 2018
